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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

     Plaintiff,

                 v.                         Criminal No. 16-242 (FAB)

BYRON MONTIJO-MAISONET [1],
LUIS MELENDEZ-RAMOS [2],

     Defendants.


                          MEMORANDUM AND ORDER

BESOSA, District Judge.

     Before   the     Court   is    defendant    Byron        Montijo-Maysonet

(“Montijo”)   and     defendant    Luis   Melendez-Ramos       (“Melendez”)’s

motion to dismiss all counts of the indictment charging them with

violations of 18 U.S.C. § 2423(a).           (Docket No. 39.)           For the

reasons set forth below, the Court DENIES defendants’ motion to

dismiss.

I.   RELEVANT BACKGROUND

     On August 25, 2016 a federal grand jury returned a superseding

indictment charging defendant Montijo and defendant Melendez with,

inter alia, two violations of 18 U.S.C. § 2423(a) (section 2423).

(Docket No. 14.)      Essentially, the superseding indictment alleges

that on two separate occasions defendants transported several

minor females from Manati, Puerto Rico to a motel in Arecibo,

Puerto Rico to engage in sexual acts.       (Docket No. 14.)        Defendants
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assert that section 2423 is inapplicable because the superseding

indictment alleges that defendants transported minors within the

Commonwealth of Puerto Rico, not between Puerto Rico and another

state, territory, or other jurisdiction.         (Docket No. 39.) 1

II.   Motion to Dismiss Standard

      Defendants move to dismiss the indictment for failure to state

an offense pursuant to Rule 12 of the Federal Rules of Criminal

Procedure.   An indictment “must be a plain, concise, and definite

written statement of the essential facts constituting the offense

charged.”    Fed. R. Crim. P. 7.         When considering a motion to

dismiss an indictment, courts “must take the allegations in the

indictment as true,” and must be mindful that “the question is not

whether the government has presented enough evidence to support

the charge, but solely whether the allegations in the indictment

are sufficient to apprise the defendant of the charged offense.”

United States v. Ngige, 780 F.3d 497, 502 (1st Cir. 2015) (citation

omitted).    “[I]t is generally sufficient that an indictment set

forth the offense in the words of the statute itself as long as

those words set forth all the elements of the offense without any

uncertainty or ambiguity.”       United States v. Brown, 295 F.3d 152,



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 The Court granted defendant Melendez’s motion join the motion to
dismiss. (Docket No. 46.) The government responded to the motion
to dismiss. (Docket No. 51.)
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154   (1st    Cir.   2002)   (internal    quotation     marks    and   citation

omitted).

III. Discussion

      Defendants predicate their motion to dismiss on an erroneous

interpretation of recent decisions of the Supreme Court of the

United States and the First Circuit Court of Appeals.               Defendants

challenge the validity of the section 2423 counts on the basis

that the alleged transportation occurred exclusively within Puerto

Rico.     Section 2423, also known as the Mann Act, states that:

      “Any person who knowingly transports an individual who
      has not attained the age of 18 years in interstate of
      foreign commerce, or in any commonwealth, territory or
      possession of the United States, with intent that the
      individual engage in prostitution, or in any sexual
      activity for which any person can be charged with a
      criminal offense, shall be fined under this title and
      imprisoned not less than 10 years or for life.”

18 U.S.C. § 2324(a) (emphasis added).                Although section 2423

includes the word “commonwealth,” defendants argue that Puerto

Rico is a state for purposes of this section.              (Docket No. 39 at

p. 1.)     Consequently, defendants contend that the transportation

element of section 2423 is lacking because section 2423 “does not

apply to Puerto Rico except as to transportation between Puerto

Rico and the States of the Union and foreign countries.”                 Id. at

p. 4.     The Court disagrees.
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     Defendants misunderstand precedent, stating that “two cases

have changed the application” of section 2423, namely United States

v. Maldonado-Burgos, 844 F.3d 339 (1st Cir. 2016) and Puerto Rico

v. Sanchez-Valle, 136 S. Ct. 1863 (2016).                 Id. at p. 3.          In

Maldonado-Burgos, the First Circuit Court of Appeals examined

whether “Puerto Rico is a ‘Territory or Possession of the United

States,’ concluding that ‘we should treat Puerto Rico as a state

or a territory for purposes of § 2421(a).’”             844 F.3d at 339-346.

After reviewing congressional intent regarding the Mann Act in

addition   to   the   legal    status   of    Puerto    Rico    throughout     the

twentieth-century, the First Circuit Court of Appeals concluded

that “§ 2421(a) does not apply to transportation that occurs solely

within Puerto Rico.”     Maldonado-Burgos, 844 F.3d at 340.

     Defendants attempt to replicate the First Circuit Court of

Appeals’ analysis in Maldonado-Burgos, placing in question the

congressional intent behind section 2423.               Because the Mann Act

does not name specifically Puerto Rico, defendants suggest that

section “2423 does not apply to Puerto Rico in as much as § 2421

did not” pursuant to Maldonado-Burgos.           (Docket No. 39 at p. 4.)

The First Circuit Court of Appeals, however, explicitly emphasized

that its holding “applies only to the scope of § 2421(a), and not

to   the   other   provisions     of    the   Mann     Act.”     Id.   at     350.

Consequently, Maldonado-Burgos is inapposite.
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         Nothing in Maldonado-Burgos undermines the premise that

section   2423    prohibits   the    transportation        of     minors   “in   any

commonwealth, territory, or possession” including transportation

occurring exclusively within Puerto Rico.                 See United States v.

Lebron-Caceres, 157 F. Supp. 3d 80, 83 (D.P.R. 2016) (Delgado-

Hernandez, J.) (observing that “Section 2423(a) explicitly applies

to intra-commonwealth transportation.”); United States v. Mercado-

Flores,   124    F.   Supp.   3d    55,   57    (D.P.R.    2015)     (Gelpi,     J.)

(“[S]ection 2423(a) clearly indicates that the same applies to

intra-state      activities   within      any   commonwealth        territory    or

possession of the United States’ and section 2421 indicates that

it applies to intra-state activities within only within [sic] ‘any

territory, or possession of the United States.’”). 2




     2
       Before setting forth their argument to the contrary,
defendants cite to precedent establishing that section 2423 does,
indeed, criminalize the intra-Commonwealth transportation of
minors to engage in sexual activity.      Docket No. 39 at p. 2,
(citing United States v. Medina-Ayala, 906 F. Supp. 2d 20 (D.P.R.
2012) (Fuste, J.) (denying motion to dismiss section 2423 counts
alleging intra-Commonwealth transportation of a minor because “the
Mann Act applies to Puerto Rico”); see also United States v. Cotto-
Flores, 2016 U.S. Dist. LEXIS 139777 *4 (D.P.R. 2016) (Dominguez,
J.) (“Section 2423 applies to the instant set of facts as [a]
statute for the criminalization of the transportation of minors
within a commonwealth of the United States for the purposes of
engaging in sexual acts.”) (emphasis added). Defendants cite no
authority that persuades this Court to hold that intra-
Commonwealth transportation of minors is beyond the purview of
section 2423.
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     Moreover, it is inappropriate to equate sections 2423 and

2421 of the Mann Act.       In 1998, Congress amended section 2423, not

section     2421,    to    include    the      term   “commonwealth,”           which

criminalized explicitly the intra-commonwealth transportation of

minors to engage in sexual acts.                See Lebron-Caceres, 157 F.

Supp.3d at 83.        Accordingly, the Court rejects the proposition

that “§ 2423 does not apply to Puerto Rico in as much as § 2421

did not.”     (Docket No. 39 at p. 4.)         Driving several minor females

from one location to another within Puerto Rico to engage in sexual

acts, as alleged in the indictment, sets forth sufficiently the

transportation element of section 2423.

     Defendants’ reliance on Sanchez Valle is equally misguided.

In Sanchez-Valle, the Supreme Court ruled that Puerto Rico and the

United States are not dual sovereigns for purposes of the double

jeopardy clause because the ultimate source of Puerto Rico’s

prosecutorial authority is the federal government.                    136 S. Ct.

1863.    At bottom, Sanchez Valle addressed the relationship between

Puerto Rico and the United States; it had nothing whatsoever to do

with whether the intra-Commonwealth transportation of minors to

engage in sexual acts violates section 2423.                 Consequently, the

Court concludes that Sanchez Valle is irrelevant regarding whether

the indictment sufficiently states a section 2423 offense pursuant

to Rule 12 of the Federal Rules of Criminal Procedure.
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     In two pages, defendants Montijo and Melendez invoke a number

of authorities to surmise that “there seems to be no reason for

§ 2423 to apply to this district.”          (Docket No. 39.)      Defendants

cite the Federal Relations Act, 48 U.S.C. § 731 et al., and the

Privileges and Immunities Clause without explaining why invoking

these authorities is pertinent to their argument.             (Docket No. 39

at pp. 3 & 4.)      Without more, the Court cannot decipher what

relevance these authorities have to the merits of the pending

motion to dismiss.      Defendants further assert that aside from

Puerto Rico, “no other territory, possession or commonwealth” is

referred to “as a territory (unincorporated or otherwise) or a

commonwealth” in the Federal Relations Act. Id.

     To the extent that defendants have invited the Court to weigh

in on the political status of Puerto Rico, the Court declines to

do so.   The Court need not define the status of Puerto Rico vis-

à-vis the United States to rule on the motion to dismiss. 3




3In its response the motion to dismiss, the government disputes
the defendants’ assertions regarding the status of Puerto Rico,
addressing the merits and applicability of Maldonado-Burgos and
Sanchez Valle. (Docket No. 51.) The Court reiterates that these
decisions are inapposite, and that it need not define Puerto Rico’s
relationship with the United States to rule on the merits of the
pending motion.
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IV.   Conclusion

      For the foregoing reasons, the motion to dismiss counts of

the superseding indictment alleging violations of section 2423 for

failure to allege an offense, Docket No. 39, is DENIED.

      IT IS SO ORDERED.

      San Juan, Puerto Rico, June 2, 2017.


                                        s/ Francisco A. Besosa
                                        FRANCISCO A. BESOSA
                                        UNITED STATES DISTRICT JUDGE
